             Case 4:04-cr-40043-SMY                      Document 797 Filed 04/28/06                   Page 1 of 6          Page ID
% A 0 2458    (Rev. 06/05) Judgment in a Criminal Case            #2126
              Sheet 1




                                                   Southern District of Illinois
         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
              MICHAEL B. GREGORY                                         Case Number:                    04-40043-006-JLF

                                                                        USM Number:                      06325-025

                                                                         Daniel F. Goggin
                                                                         Defendant's Attorney
THE DEFENDANT:
                                                                                                                         C
- pleaded guilty to count(s)        1 of the Superseding Indictment
(7 pleaded nolo contendere to count(s)
-
  which was accepted by the court.
-
(7 was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:                                                                               '-99

Title & Section                  Nature of Offense                                                       Offense Ended               Count
18:2,21:841(a)(l) & 841          Conspiracy to Manufacture & Possess with Intent to Distribute           06/30/2004                    1
(b)(l)(A)(vii) and 21:846        More Than 500 Grams of Methamphetamine




       The defendant is sentenced as provided in pages 2 through              6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
(7 The defendant has been found not guilty on count(s)
-

- Count(s)                                               -
                                                         (7 is   1 are dismissed on the motion of the United States.
         It IS ordered that the defendant must notify the United States attorney for t h ~ district
                                                                                           s        within 30 da s of any change of name, residence,
or mailing address unt~lall fines, restirution,costs, and spec~alassebsmcn? irn osed by th~sjudgmentare fufiypaid. If ordered to pay resflhltlon,
the defendant must notify the court and Un~tedStates attorney of matenal cRanges in econonnc circumstances.

                                                                         A~ril20.2006



                                                                         Signature of Judge




                                                                         G. Patrick Mur~hv.Chief J n d ~ e
                                                                         Name and Title of Judge
               Case 4:04-cr-40043-SMY                    Document 797 Filed 04/28/06                     Page 2 of 6      Page ID
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A 0 2458     (Rev. 06/05) Judgment in Criminal Case


                                                                                                         Judgment -Page   2of       6
DEFENDANT:                      MICHAEL B. GREGORY
CASE NUMBER:                    04-40043-006JLF



                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tern of:

119 months




     -
     I3      The court makes the following recommendations to the Bureau of Prisons:




     -       The defendant is remanded to the custody of the United States Marshal.

     -
     13      The defendant shall surrender to the United States Marshal for this district:

             - at                                     -
                                                      I3 a.m.    g p.m.        on
             - as notified by the United States Marshal.

     -       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             I3 before 2 p.m. on
             -
             - as notified by the United States Marshal.
             I3 as notified by the Probation or Pretrial Services Office.
             -

                                                                     RETURN
I have executed this judgment as follows:




             Defendant delivered                                                           to

a                                                       , with a certified copy of this judgment.


                                                                                                       UNITED STATES MARSHAL



                                                                                                    DEPUTY UNITED STATES MARSHAL
              Case 4:04-cr-40043-SMY                   Document 797 Filed 04/28/06                     Page 3 of 6         Page ID
                                                                #2128
A 0 2458    (Rev. 06105) Judgment in a Criminal Case
            Sheet 3 - Suoervlsed Release
                                                                                                        Judgment-Page       3     of          6
DEFENDANT:                   MICHAEL B. GREGORY
CASE NUMBER:                 04-40043-006-JLF
                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

5 years



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime,
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suxmit to one drug test with& 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 52 tests m a one year period.
-      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
t3 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
-
t3 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
-
- The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
- The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
    If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofl~aymentssheet of this judgment.
     The defendant must comply withthe standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                                  STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officeq
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fmt five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refram from excessive use of alcohol and shall not purchase, possess, use, distribute, or adrmnister any
     controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons en aged in crimlnal activily and shall not associate with any persomonvicted of a
     felony, unless granted permiss~onto do so by thc protation officer;
 10)     the defendant shall pepnit a probation officer to visit him or her at any time at home or elsewhere and shall p e m t confiscation of any
         contraband observed in plain vlew of the probat~onofficer:
 11)     the defendant shall notify the probation officer within seventy-twohours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the robdtion officer, the defendant shall notify th~rdparties of risks that may be occasioned by the defendant's crimmal
         record or           hidory or characteristics and shall permit the probation oklicer to make such not~ficationsand to confirm the
         defendant s compl~ancewlth such nonfication requlrement.
           Case 4:04-cr-40043-SMY                     Document 797 Filed 04/28/06   Page 4 of 6     Page ID
                                                               #2129
A 0 2458   (Rev. 06/05) Iudpnent in a Criminal Case
           Sheet 3C - ~u-sed      Release
                                                                                     ludgmnt-Page   4   of    6
DEFENDANT:                MICHAEL B. GREGORY
CASE NUMBER:              04-40043-006-JLF

                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant shall pay any financial penalty that is imposed by this judgment, and that
remains unpaid at the commencement of the term of supervised release. The defendant shall
pay the fine in installments of $25.00 per month or 10% of his net monthly income,
whichever is greater.
The defendant shall provide the probation officer and the Financial Litigation Unit of the
United States Attorneys' Office with access to any requested financial information. The
defendant is advised that the probation office may share financial information with the
Financial Litigation Unit.
The defendant shall apply all monies received from income tax refunds, lottery winnings,
judgments, and/or any other anticipated or unexpected financial gains to the outstandkg
court-ordered financial obligation. The defendant shall immediatelv" notifv" the arobation
officer of the receipt of any hdicated monies.
The defendant shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential
treatment facility. Any participation will require complete abstinence from all alcoholic
beverages. The defendant shall pay for the costs associated with substance abuse counseling
and/or testing based on a co-pay sliding fee scale approved by the United States Probation
Office. Co-pay shall never exceed the total costs of counseling.
The defendant shall submit his person, residence, real property, place of business, computer,
or vehicle to a search, conducted by the United States Probation Officers at a reasonable
time and in a reasonable manner, based upon reasonable suspicion of contraband or
evidence of a violation of a condition of supervision. Failure to submit to a search may be
grounds for revocation. The defendant shall inform any other residents that the premises
may be subject to a search pursuant to this condition.
             Case 4:04-cr-40043-SMY                     Document 797 Filed 04/28/06                  Page 5 of 6         Page ID
                                                                 #2130
A 0 2458   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5 C r i m i n a l Monetary Penalties
                                                                                                  Judgment - Page 5of                   6
DEFENDANT:                          MICHAEL B. GREGORY
CASE NUMBER:                        04-40043-006-JLF
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                     -
                                                                      Fine                              Restitution
TOTALS             $ 100.00                                         $ 750.00                          $ NIA



- The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case(A0245C) will be entered
     after such determination.

o
-    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a patiial payment, each pa ee shall receive an approximatel ro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment columnielow. However, pursuant to l8'CPs.F. 5 36644), all nonfederal victims must be paid
     before the Un~tedStates IS pa~d.

Name of Pavee                                   Total Loss*                    Restitution Ordered                 Prioritv or Percentage




TOTALS                                $                        0          $                          0


-     Restitution amount ordered pursuant to plea agreement $

-     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      iifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      -    the interest requirement is waived for the         fme     g       restitution.
      o
      -    the interest requirement for the E fme                restitution is modified as follows:
           * Findings for the total amount of losses are rewired under Chaoters 109A. I 10. I 1 OA, and I 13A of Title 18 for offcnses committed
           on or afler Septernb~-r13. 1994. but hefore April 23, 1996.
            Case 4:04-cr-40043-SMY                    Document 797 Filed 04/28/06                   Page 6 of 6          Page ID
                                                               #2131
A 0 245B   (Rev.06105)ludmnent in a Criminal Case
           Sheet 6 - Schedule of Pavments
                                                                                                      Judgment-Pas        6      of         6
I>lI:ENDANT:               MICHAEL B. GREGORY
CASE NJMBER:               04-40043-006-JLF

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's abilitv to Dav. Davmeut of the total criminal monetary penalties are due as follows:

A    g Lump sum payment o f $                              due immediately, balance due

           0
           -     not later than                                 , or
           -     in accordance         2 C,         g D,   1 E, or        E F below; or
B    o     Payment to begin immediately (may be combined with          g C,        - D, or     g F below); or
C    g Payment inequal                          (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or

D    2     Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    g Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    -
     151   Special instructions regarding the payment of criminal monetary penalties:
           Payments are due immediately, through the Clerk of the Co      but may be paid from prison earnings in compliance with the
           Imnate Financial Responsibilr Program. An fmancial pe%ties that remain un aid at the commenceeent of the term of
                                            1
           supervised release shall be pai at the rate of A5.00 per mouth, or 10% of defen&nt9s monthly net eammgs, whichever is greater




Unless the court bas express1 ordered otherwise, if this judgmentimposes imprisonment a entof criminalmonetarypenaltiesis due durin
imprisonment. All cnminaYmoneta penalties, except those payments made throug g ~ e d e r a Bureaul     of Prisons' Inmate ~inanciaf
Responsibility Program are made to %e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



-    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




-     The defendant shall pay the cost of prosecution.

-
0    The defendant shall pay the following court cost@):

-
0    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the follow,mg order: (I assessment. (2) restitution principal, (3) restitution interest, (4) fine princ~pal,
                                                       1
( 5 ) fine interest. (6) community rcsntuuon, (7) pena hes, and (8) costs, mcludmg cost of prosecut~onand court costs.
